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                           EXHIBIT E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                               IRAN NOTICE OF
                                                                            AMENDMENT
-----------------------------------------------------------------X

This document relates to: ________________________________________________________,

No. ___________________.

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

above-referenced matter, ECF No. _________, as permitted and approved by the Court’s Order

of June ___, 2018, ECF No. _________. Upon the filing of this Notice of Amendment, the

underlying Complaint is deemed amended to add the individual(s) listed below (the “New

Plaintiff(s)”) as plaintiff(s) raising claims against the Islamic Republic of Iran. The underlying

Complaint is deemed amended to include the allegations, as indicated below, of (a) the Federal

Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint Against Defendant, the

Islamic Republic of Iran, ECF No. 3237, or (b) the Amended Complaint, Burnett v. Islamic

Republic of Iran, No. 15-CV-9903 (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53. The

amendment effected through this Notice of Amendment supplements by incorporation into, but

does not displace, the underlying Complaint. This Notice of Amendment relates solely to the

Islamic Republic of Iran and does not apply to any other defendant.

         Upon filing this Iran Notice of Amendment, each New Plaintiff is deemed to have

adopted all factual and jurisdictional allegations of the complaint that has been joined as

specified below; all causes of action contained within that complaint; all prior filings in




                                                        1
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connection with that complaint; and all prior Orders and rulings of the Court in connection with

that complaint.

       Additionally, each New Plaintiff incorporates the factual allegations and findings

contained in those pleadings and orders filed at Havlish v. Bin Laden, No. 1:03-CV-9848

(GBD)(SN) (S.D.N.Y.), ECF Nos. 263, 294, 295; In re Terrorist Attacks on September 11, 2001,

03-MDL-1570 (GBD)(SN) (S.D.N.Y.), ECF Nos. 2430, 2431, 2432, 2433, 2473, 2515, 2516;

and evidence submitted at the proceedings before the Honorable George B. Daniels on December

15, 2011 (ECF No. 2540).

                                      CAUSES OF ACTION

       Each New Plaintiff hereby adopts and incorporates herein by reference all factual

allegations, jurisdictional allegations, and jury trial demand, including all causes of action

against Iran, as set forth in the following complaint [check only one complaint]:

               Federal Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint
               Against Defendant, the Islamic Republic of Iran, ECF No. 3237

               Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903
               (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53




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                          IDENTIFICATION OF NEW PLAINTIFFS

       Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks

of September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s

name, the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased

family member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the

underlying Complaint discussing the decedent and/or the decedent’s estate.

     New Plaintiff’s      New           New Plaintiff’s   9/11           New Plaintiff’s   Paragraphs
     Name (alphabetical   Plaintiff’s   Citizenship/      Decedent’s     Relationship to   of Complaint
     by last name)        State of      Nationality on    Name           9/11 Decedent     Discussing
                          Residency     9/11/2001                                          9/11
                          at Filing                                                        Decedent
                          (or death)
 1

 2

 3

 4

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Dated: ____________________



                                                          Respectfully submitted,



                                                          ____________________________________

                                                          COUNSEL FOR PLAINTIFFS




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